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                              IN THE UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH


    UNITED STATES OF AMERICA,                               MEMORANDUM DECISION AND
                                                            ORDER DENYING [122] MOTION FOR
                             Plaintiff,                     REVIEW OF CONDITIONS OF
                                                            RELEASE PURSUANT TO 18 U.S.C.
    v.                                                      § 3164

    JACKSON STUART TAMOWSKI                                 Case No. 2:20-cr-00182-DBB
    PATTON,
                                                            District Judge David Barlow
                             Defendant.

            Defendant Jackson Stuart Tamowski Patton filed the Motion for Review of Conditions of

Release Pursuant to 18 U.S.C. § 3164 (the Motion). 1 Specifically, Mr. Patton argues that because

the ninety-day period to commence his trial has expired, the court must conduct a review of

conditions of Mr. Patton’s release and that Mr. Patton must be released from his pretrial

detention pursuant to 18 U.S.C. § 3164(c). 2 However, because § 3164 specifically incorporates

the statutorily recognized periods of delay and exclusion referenced in the various General

Orders that the court has entered due to the COVID-19 pandemic, the time to commence trial has

been continued and the ninety-day period has not lapsed. There is no basis to either conduct a

review of release conditions or to release Mr. Patton from his ordered detention under 18 U.S.C.

§ 3164(c). The Motion is denied.

                                                BACKGROUND

            Mr. Patton has been detained awaiting trial on a charge of Arson in Interstate Commerce

since his arrest in early June 2020. He was initially detained based on the charge contained in the


1
    Motion for Review of Conditions of Release Pursuant to 18 U.S.C. § 3164, ECF No. 122, filed August 28, 2020.
2
    Id. at 2.
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criminal complaint filed against him 3 which was later superseded with an indictment on July 23,

2020. 4

              Mr. Patton argues in the Motion that the applicable ninety-day period to commence his

trial began to run from his arrest. 5 That ninety days, according to Mr. Patton, has now lapsed,

triggering the review and release provisions of § 3164(c). 6 Mr. Patton discounts the continuances

and exclusions included in the court’s various COVID-19-related General Orders because these

orders “do not specifically reference section 3164.” 7 According to Mr. Patton, the court:

              [M]ade the “ends of justice” findings based on the safety risks to the juries and
              court personnel, as well as its inability to conduct jury trials . . . concerns not
              contemplated under section 3164. Because of that, the General Orders are
              insufficient for this Court to now find that the time from Patton’s arrest until now
              has been excluded from the ninety day computation. 8

                                                  DISCUSSION

              Mr. Patton is correct that the General Orders included specific findings as to the safety

risks to juries and court personnel, but those orders consider numerous other factors and were far

broader:

          •   “The expanding number of COVID-19 infections, hospitalizations, and deaths nationally

              and in Utah, demand modifications to court practices to protect public health.” 9

          •   “Mindful of the Court’s constitutional responsibility to continue providing mission-

              critical functions of the federal judiciary—even during the COVID-19 outbreak—the



3
    Complaint, ECF No. 1, filed June 3, 2020.
4
    Superseding Indictment, ECF No. 52, filed July 23, 2020.
5
    Motion at 2.
6
    Id.
7
    Id. at 3.
8
    Id.
9
    General Order 20-026 at 4.



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            need to protect the public health in the midst of the ongoing deadly COVID-19 outbreak

            outweighs the important rights of individual defendants and the public to speedy trials at

            this time.” 10

       •    “[T]he exclusion of time through October 1, 2020 from the respective speedy trial

            periods, is necessary to protect the health and safety of jurors, prospective jurors, court

            staff and employees, criminal defendants, counsel, law enforcement personnel, and the

            public.” 11

       •    “[T]he current environment makes it nearly certain that the Court cannot obtain an

            adequate spectrum of jurors to fairly conduct trials.” 12

       •    “Empaneling a jury, conducting a trial, and facilitating juror deliberations, all with due

            regard for health and safety, is simply not possible in the physical facilities available to

            the court.” 13

            Based on these findings, the court determined that a continuance of all criminal trials

until October 1, 2020 and the exclusion of time under Speedy Trial Act was appropriate under 18

U.S.C. § 3161(h)(7)(A). 14 Despite that, Mr. Patton argues that this sort of exclusion does not

apply because the contexts for which delays arise under sections 3161 are different from those

related to 3164. 15

            A close reading of the relevant statutory provisions demonstrates that this argument is

incorrect. Section 3164(b) provides that the trial for individuals described in subsection (a)(1)


10
     Id. (emphasis added).
11
     Id. (emphasis added).
12
     Id. at 4-5.
13
     Id at 5.
14
     Id. at 4.]
15
     Motion at 3.



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“shall commence not later than ninety days following the beginning of such continuous

detention.” 16 As Mr. Patton correctly notes, § 3164(c) specifies that “No detainee, as defined in

subsection (a), shall be held in custody pending trial after the expiration of such ninety-day

period required for the commencement of his trial.” 17 However, § 3164(b) specifies that those

“periods of delay enumerated in section 3161(h)” are excluded from the computation of this time

limitation. 18 This means that § 3164(b) incorporates those periods of exclusion set forth under

§ 3161(h)(7), which is what the General Orders specifically referenced as a basis for the

continuances and exclusions.

           Mr. Patton cites the Tenth Circuit decision United States v. Theron 19 for the proposition

that “the ‘reasonable delay’ exclusion of § 3161(h)(7) has a different meaning and application

under § 3164 than under § 3161, because of the different context in which it arises.” 20 But the

Tenth Circuit decided Theron in 1986 and § 3161 has since been amended. What was section

3161(h)(7) in 1987 is consistent with the language of what is now § 3161(h)(6)—a provision

concerning codefendants. 21 Mr. Patton does not show how the current § 3161(h)(7) should be

treated differently under § 3164 than under § 3161.

           Because § 3161(h) periods of delay—as properly excluded under the court’s pandemic-

related General Orders—are referenced in § 3164(b), there has been no failure to commence Mr.


16
     18 U.S.C. § 3164(b).
17
     18 U.S.C. § 3164(c).
18
     18 U.S.C. § 3164(b).
19
     782 F.2d 1510 (10th Cir. 1986).
20
     Motion at 2 (quoting Theron, 782 F.2d at 1516).
21
  Compare Theron,782 F.2d at 1514 (citing to 18 U.S.C. § 3161(h)(7) for the following quote: “The following
periods of delay shall be excluded in computing the time within which . . . the trial of any such offense must
commence: . . . (7) A reasonable period of delay when the defendant is joined for trial with a codefendant as to
whom the time for trial has not run and no motion for severance has been granted.”) with 18.U.S.C. § 3161(h)(7)
(providing guidance on the “ends of justice” analysis).



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Patton’s trial as specified in § 3164(b). Therefore, § 3164(c) does not apply to his circumstances.

There is no basis to conduct a review of release conditions or consider releasing Mr. Patton

under 18 U.S.C. § 3164(c). The Motion is denied.

                                                     ORDER

           IT IS HEREBY ORDERED that Defendant’s Motion for Review of Conditions of

Release Pursuant to 18 U.S.C. §3164 22 is DENIED.

           Signed September 9, 2020.

                                                      BY THE COURT


                                                      ________________________________________
                                                      David Barlow
                                                      United States District Judge




22
     Motion for Review of Conditions of Release Pursuant to 18 U.S.C. § 3164, ECF No. 122, filed August 28, 2020.



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